           Case 1:11-cr-00223-AWI-BAM Document 155 Filed 03/07/13 Page 1 of 2


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     MARIA MARTHA LOPEZ
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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                             Case No.: 11-CR-00223 AWI
13
                                    Plaintiff,             STIPULATION AND ORDER TO
14                                                         CONTINUE SENTENCING
                                                           HEARING
15   vs.
16   MARIA MARTHA LOPEZ
17
                                    Defendant,
18
19   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
20   ANTHONY W. ISHII AND KEVIN ROONEY, ASSISTANT UNITED STATES ATTORNEY:
21          COMES NOW Defendant, MARIA MARTHA LOPEZ, by and through her attorney of
22   record, DAVID A. TORRES hereby request that the sentencing hearing date currently set for
23   Monday, March 11, 2013 be continued to March 25, 2013 at 10 a.m., or a date convenient to
24   court and counsel.
25           My associate, Monica Bermudez, appear at the alt hearing. She inadvertently scheduled
26   this matter on a date that I am unavailable.
27          The defendant is willing to continue excluding time through the next court appearance in
28   that the ends of justice in the exclusion outweigh defendant’s speedy trial rights.
           Case 1:11-cr-00223-AWI-BAM Document 155 Filed 03/07/13 Page 2 of 2


 1          Based upon the foregoing, I respectfully request that this matter be continued to
 2   March 25, 2013.
 3
 4   Dated: March 7, 2013                                   /s/ David A. Torres
                                                            DAVID A. TORRES
 5                                                          Attorney for Defendant
                                                            MARIA MARTHA LOPEZ
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 7
     Dated: March 7, 2013                                   /s/Kevin Rooney
 8                                                          KEVIN ROONEY
                                                            Assistant U. S. Attorney
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12                                                ORDER
13          IT IS SO ORDERED. For the reasons set forth above, the continuance requested is
14   granted for good cause. The court finds the end of justice outweigh the interests of the public and
15   the defendant’s rights to a speedy trial. Therefore, time is excluded in the interest of justice
16   pursuant to 18 U.S.C. §3161(h)(7)(A) and §3161 (h)(7)(B)(i) & (iv).
17
18   IT IS SO ORDERED.
19
     Dated:    March 7, 2013
20   0m8i78                                                     SENIOR DISTRICT JUDGE
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